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                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

 In re:         Mark Vogel and         )
                Nina Vogel,            )             Case No. 19-42266
                                       )             Chapter 13
 SSN: XXX-XX-                          )             Hearing Date:
 Debtor                                )             Hearing Loc:
                                       )

                                      CHAPTER 13 PLAN

  1.1      A limit on the dollar amount of a secured claim,          ___ Included
           which may result in a partial payment or no               _X_ Not Included
           payment at all to the secured creditor.
  1.2      Avoidance of a judicial lien or nonpossessory,           ___ Included
           nonpurchase-money security interest.                     _X_ Not Included
  1.3      Nonstandard provisions set out in Part 5.                _X_ Included
                                                                    ___ Not Included

 Part 1.        NOTICES

 TO DEBTORS: This form sets out options that may be appropriate in some cases, but the
 presence of an option does not indicate that the option is appropriate in your circumstances or
 that it is permissible in the Eastern District of Missouri. Plans that do not comply with local
 rules and judicial rulings may not be confirmable.

 TO CREDITORS: Your rights may be affected by this plan. Your claim may be
 reduced, modified, or eliminated. You should read this plan carefully and discuss it with your
 attorney, if you have one in this bankruptcy case. If you do not have an attorney, you may wish
 to consult one. If you oppose the plan’s treatment, you or your attorney must file an objection to
 confirmation in accordance with the Eastern District of Missouri Local Bankruptcy Rule 3015.
 The Bankruptcy Court may confirm this plan without further notice if no objection to
 confirmation is filed. YOU MUST FILE A TIMELY PROOF OF CLAIM IN ORDER TO
 PARTICIPATE IN DISBURSEMENTS PROPOSED IN THE PLAN. CLAIMS SHALL
 SHARE ONLY IN FUNDS DISBURSED AFTER THE CHAPTER 13 TRUSTEE
 RECEIVES THE CLAIM.

 Part 2.        PLAN PAYMENTS AND LENGTH OF PLAN

 2.1    Plan Payments. Debtor is to make regular payments to the Chapter 13 Trustee as
 follows: (complete one of the following payment options)

    (A) $1,450.00 per month for 60 months.

    (B) $___ per month for __ months, then $_______ per month for __ months.

    (C) A total of $___________ through ____________, then $_______ per month for
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           ______ months beginning with the payment due in _____________, 20____.

 2.2     Tax Refunds. Within fourteen days after filing federal and state income tax returns,
 Debtor shall provide the Chapter 13 Trustee with a copy of each return required to be filed
 during the life of the plan. The Debtor shall send any tax refund received during the pendency
 of the Chapter 13 case to the Trustee; however, Debtor may retain a portion of a tax refund to
 pay income taxes owed to any taxing authority for the same period as the refund. Debtor may
 also retain $1,250 for single filers or $1,500 for joint filers and refundable tax credits
 consisting of Earned Income Credit (EIC) and Additional Child Tax Credit, each year.

 2.3   Additional Lump Sums. Debtor shall send additional lump sum(s) consisting of
 _________, if any, to be paid to the Trustee.


 Part 3.          DISBURSEMENTS

 Creditors shall be paid in the following order and in the following fashion. Unless stated
 otherwise, the Chapter 13 Trustee will make the payments to creditors. All disbursements by the
 Trustee will be made pro-rata by class, except per month disbursements described below.
 However, if there are funds available after payment of equal monthly payments in paragraph 3.5
 and fees in paragraph 3.6, those funds may be distributed again to those same paragraphs until
 paid in full before distributing to the next highest paragraphs:

 3.1       Trustee. Pay Trustee a percentage fee as allowed by law.

 3.2     Executory Contract/Lease Arrearages. Trustee will cure pre-petition arrearage on
 any executory contract accepted in paragraphs 3.3(A) or (B) over the following period,
 estimated as follows:

  CREDITOR NAME                 TOTAL AMOUNT DUE             CURE PERIOD (6 months or less)




 3.3       Pay the following sub-paragraphs concurrently:

  (A) Post-petition real property lease payments. Debtor assumes executory contract for real
  property with the following creditor(s) and proposes to maintain payments (which the Debtor
  shall pay) in accordance with terms of the original contract as follows:

  CREDITOR NAME                 MONTHLY PAYMENT

  (B) Post-petition personal property lease payments. Debtor assumes executory contract for
  personal property with the following creditor(s) and proposes to maintain payments (which
  the Trustee shall pay) in accordance with terms of the original contract as follows:

  CREDITOR NAME                 MONTHLY PAYMENT              EST MONTHS REMAINING



  (C) Continuing Debt Payments (including post-petition mortgage payments on real
  estate, other than Debtor's residence.) Maintain payments of the following continuing
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  debt(s) in accordance with terms of the original contract with any arrearages owed at the time
  of filing to be cured in paragraph 3.5(A). Trustee shall make payments in the amount listed
  below or as adjusted by the creditor under terms of the loan agreement.

  CREDITOR NAME                MONTHLY PAYMENT



  (D) Post-petition mortgage payments on Debtor's residence. Payments due post-filing on
  debt(s) secured by lien(s) on Debtor(s) residence shall be paid at the monthly amount listed
  below (or as adjusted by creditor under terms of loan agreement) to:

  CREDITOR NAME                MONTHLY PAYMENT                      BY DEBTOR/TRUSTEE
       Loan Care                      $4,920                        Debtor

  (E) DSO Claims in equal installments. Pay pre-petition domestic support obligation arrears
  (not provided for elsewhere in the plan) in full in equal monthly installments over the life of
  the plan, estimated as:

  CREDITOR NAME                       TOTAL AMOUNT DUE               INTEREST RATE


 3.4     Attorney Fees. Pay Debtor's attorney $1,790.00 in equal monthly payments over 18
  months (no less than 18 months). Any additional fees allowed by the Court shall be paid
  pursuant to paragraph 3.6 below. [See procedures manual for limitations on use of this
  paragraph]

 3.5      Pay the following sub-paragraphs concurrently:

  (A) Pre-petition arrears on secured claims paid in paragraph 3.3. Pay pre-petition
  arrearage on debts paid under paragraphs 3.3(C) or (D) in equal monthly installments over the
  period set forth below and with the interest rate identified below, estimated as follows:

  CREDITOR NAME       TOTAL AMOUNT DUE               CURE PERIOD           INTEREST RATE
  Loan Care           $73,580.00                     48 months                   0%

  (B) Secured claims to be paid in full. The following claims shall be paid in full in equal
  monthly payments over the period set forth below with 6.75% interest:

  CREDITOR             EST BALANCE DUE               REPAY PERIOD            TOTAL w/ INTEREST
                                                     36 months
  (C) Secured claims subject to modification. Pay all other secured claims the fair market
  value of the collateral, as of the date the petition was filed, in equal monthly payments over
  the period set forth below with 6.75% interest and with any balance of the debt to be paid as
  non-priority unsecured debt under paragraph 3.9(A), estimated as set forth below. If no
  period is set forth below for a claim to be paid under this paragraph, the claim will be paid
  over the plan length.

  CREDITOR             BALANCE DUE         FMV       REPAY PERIOD            TOTAL w/ INTEREST
    MSD                $2,900.00          $750,000   36 months               $3,200.00
  Laclede Gas          $538               $750,000   36 months               $650.00



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  (D) Co-debtor debt paid in equal monthly installments. The following co-debtor claims(s)
  to be paid by Trustee or by the co-debtor as noted below. If paid by Trustee, such claim(s)
  shall be paid in equal monthly installments over the period and with interest as identified
  below:

  CREDITOR      EST BALANCE TRUSTEE/CO-DEBTOR           PERIOD          INTEREST RATE




  (E) Post Petition Fees and Costs. Pay any post-petition fees and costs as identified in a notice
  filed pursuant to Federal Rule of Bankruptcy Procedure 3002.1 as a supplement to an allowed
  claim or any other post-petition fees and costs which the Court allows and orders the Trustee to
  pay. Any such amounts shall be paid in equal monthly payments over the remainder of the plan
  duration and shall not receive interest.


 3.6     Additional Attorney Fees. Pay $2,400.00 of Debtor's attorney's fees and any
 additional Debtor's attorney's fees allowed by the Court.

 3.7    Pay sub-paragraphs concurrently:

  (A) Unsecured Co-debtor Guaranteed Claims. The following unsecured co-debtor
  guaranteed debt to be paid by Trustee or by the co-debtor as noted below. If paid by Trustee,
  pay claim in full with interest rate as identified below:

  CREDITOR NAME        EST TOTAL DUE          TRUSTEE/CO-DEBTOR         INTEREST RATE


  (B) Assigned DSO Claims. Domestic support obligation arrearages assigned to, or
  recoverable by, a governmental unit, will be paid a fixed amount with the balance to be owed
  by Debtor(s) after completion of the Plan, pursuant to §§ 507(a)(1)(B) and 1322(a)(4).
  Regular payments that become due after filing shall be paid directly by Debtor(s):

  CREDITOR             TOTAL DUE              TOTAL AMOUNT PAID BY TRUSTEE

  3.8    Priority Claims. Pay priority claims allowed under § 507 that are not addressed
  elsewhere in the plan in full, estimated as follows:

  CREDITOR NAME                       TOTAL AMOUNT DUE
  IRS                                 $10,366.00



  3.9   Pay the following sub-paragraphs concurrently:

  (A) General Unsecured Claims. Pay non-priority, unsecured creditors. Estimated total owed:
  $151,074.68. Amount required to be paid to non-priority unsecured creditors as determined by
  §1325(a)(4) hypothetical Chapter 7 liquidation calculation: $0. Amount required to be paid to
  nonpriority unsecured creditors as determined by §1325(b) calculation: $0. Debtor guarantees

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  a minimum of $2,500. (Dollar amount or 100%) will be paid to non-priority unsecured
  creditors.

  (B) Surrender of Collateral. Debtor proposes to surrender the following collateral to the
  following creditor(s). (Choose one).
      □ Any deficiency shall be paid as non-priority unsecured debt.
       □ The Trustee shall stop payment on the creditor's claim until such time as the creditor
       files an amended claim showing the secured and unsecured deficiency (if any) still owed
       after sale of the surrendered collateral.

  CREDITOR                    COLLATERAL


  (C) Rejected Executory Contracts/Leases. Debtor rejects the following executory
  contract(s) with the following creditor(s). Any balance will be paid as non-priority unsecured
  debt:

  CREDITOR                    CONTRACT/LEASE


 Part 4.          OTHER STANDARD PLAN PROVISIONS

 4.1     Absent a specific order of the Court to the contrary, the Chapter 13 Trustee, rather than
 the Debtor, will make all pre-confirmation disbursements pursuant to § 1326(a).

 4.2       All creditors entitled to pre-confirmation disbursements, including lease creditors, must
 file a proof of claim to be entitled to receive payments from the Chapter 13 Trustee.

 4.3      The proof of claim shall control the valuation of collateral and any valuation stated in
 the plan shall not be binding on the creditor.

 4.4    The Trustee, in the Trustee’s sole discretion, may determine to reserve funds for
 payment to any creditor secured by a mortgage on real estate pending filing of a claim.

 4.5       Any post-petition claims filed and allowed under § 1305 may be paid through the plan.

 4.6     Debtor is not to incur further credit or debt without the consent of the Court unless
 necessary for the protection of life, health or property and consent cannot be obtained readily.

 4.7      All secured creditors shall retain the liens securing their claims until the earlier of the
 payment of the underlying debt determined under non-bankruptcy law or discharge under
 § 1328. However, Debtor will request avoidance of non-purchase money liens secured by
 consumer goods as well as judicial liens which impair exemptions and said creditors will not
 retain their liens if the court enters an order granting Debtor's request to avoid the liens.

 4.8      Any pledged credit union shares or certificates of deposit held by any bank shall be
 applied to the amount owed such claimant.

 Part 5.          NONSTANDARD PLAN PROVISIONS

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 Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A
 nonstandard provision is a provision not otherwise included in the Official Form or Local Form
 or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective.

 The following plan provisions will be effective only if there is a check in the box “included” in
 Part 1 of this Plan:

 5.1
       _________________________________________________________________________
 _______________________________________________________________________________
 ______________________________________________________________________________


 Part 6.         VESTING OF PROPERTY OF THE ESTATE

 6.1       Title to Debtor's property shall re-vest in Debtor(s) upon confirmation.

 Part 7.         CERTIFICATION

 The debtor(s) and debtor(s) attorney, if any, certifies that the wording and order of the
 provisions in this Plan are identical to those contained in Official Local Form 13 of the
 Eastern District of Missouri, other than any Nonstandard Plan Provisions in Part 5.


 DATE:__4/10/2019                       DEBTOR:__/s/ Mark Vogel__

 DATE:__4/10/2019                       DEBTOR:__/s/ Nina Vogel___


 DATE:__4/10/2019                       _/s/ Douglas M. Heagler_______
                                        Douglas M. Heagler, 48952
                                        Attorney for Debtor(s)
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